978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ghulam Mohammed NASIM, Petitioner-Appellant,v.Patrick WHALEN, Warden, Respondent-Appellee.
    No. 92-6709.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 28, 1992Decided:  October 23, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Ghulam Mohammed Nasim, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ghulam Mohammed Nasim appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2241 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Nasim v. Whalen, No. CA-92-1136 (D. Md. June 16, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    